        Case 17-54115-sms               Doc 25 Filed 10/02/17 Entered 10/02/17 11:41:08                                Desc Ntc.
                                              Proof of Claim Page 1 of 1
                                          UNITED STATES BANKRUPTCY COURT

                                                    Northern District of Georgia


In Re: Debtor(s)
       All Star Health Care, Inc. a Georgia                            Case No.: 17−54115−bem
       Corporation                                                     Chapter: 7
       950 Cobb Parkway South, Suite 301                               Judge: Barbara Ellis−Monro
       Marietta, GA 30060

        27−0996994



                                              NOTICE SETTING DEADLINE FOR
                                                FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.

     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:



                                               Non−government proof of claim: 1/2/18




                                                Government proof of claim: 12/31/17


                                                File with:
                                                United States Bankruptcy Court
                                                1340 United States Courthouse
                                                75 Ted Turner Drive SW
                                                Atlanta, GA 30303


  Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                        (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                         If you have already filed your proof of claim, it is not necessary to refile.




                                                                                                M. Regina Thomas
                                                                                                Clerk of Court
                                                                                                U.S. Bankruptcy Court
Dated: October 2, 2017
Form ntcpoc
